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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 20-cv-20113-KMW

  STEVEN F. HELFAND

                   Plaintiff,
  v.

  ESSLINGER WOOTEN MAXWELL, INC.
  d/b/a BERKSHIRE HATHAWAY HOMESERVICES
  EWM REALTY; EDWARD PELOSO; EJP 888
  BISCAYNE BLVD 2712, LLC; MARCELO
  STEINMANDER; and MARINA BLUE CONDOMINIUM
  ASSOCATION,

               Defendants.
  __________________________________/


                    MEDIATION REPORT AND NOTICE OF SETTLEMENT

            Ellen Leesfield, the mediator in this case, hereby submits the following Mediation
  Report:
            On September , counsel and the parties in the above-referenced case convened via video
  conference (ZOOM), for a mediation conference in this case.
            1.     All parties were present for the mediation.
            2.     The parties reached a settlement, and the mediation was concluded.
            I HEREBY CERTIFY that a true copy of the foregoing was transmitted electronically on
  October 1, 2020 to all parties of record.

                                                 Respectfully submitted,


                                                 ___________________________
                                                 ELLEN LEESFIELD, Mediator
                                                 (Florida Bar No. 278793)
                                                 201 Alhambra Circle, Suite 1205
                                                 Coral Gables, FL. 33134
